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    Fill in this information to identify the case:

    United States Bankruptcy Court for the:

    Southern                                         District of   Texas
                                                                   (State)

    Case number (if known):                                                  Chapter     11
                                                                                                                                                                                Check if this is an
                                                                                                                                                                                 amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                           04/20

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                         Gavilan Resources, LLC


   2.   All other names debtor used                           BCP Dawn Holdings, LLC
        in the last 8 years
                                                              Aguila Production, LLC
        Include any assumed names, trade
        names, and doing business as
        names


   3.   Debtor’s federal Employer                                   81‐3366688
        Identification Number (EIN)



   4.   Debtor’s address                                   Principal place of business                                                Mailing address, if different from principal
                                                                                                                                      place of business


                                                           920                  Memorial City Way
                                                           Number               Street                                                Number                    Street

                                                           Suite 1400
                                                                                                                                      P.O. Box


                                                           Houston TX                           77024
                                                           City                 State           ZIP Code                              City                      State            ZIP Code

                                                                                                                                      Location of principal assets, if different
                                                                                                                                      from principal place of business
                                                           Harris
                                                           County
                                                                                                                                      Number            Street




                                                                                                                                      City              State                ZIP Code


   5.   Debtor’s website (URL)                             https://www.gavilanresources.com

   6.   Type of debtor                                     ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                           ☐ Partnership (excluding LLP)
                                                           ☐ Other. Specify:


Official Form 201                                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  Page 1
                         Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 2 of 24
Debtor                                                                                                       Case number (if known)
                Gavilan Resources, LLC
                Name


                                               A. Check one:
7.   Describe debtor’s business
                                               ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒   None of the above


                                               B. Check all that apply:

                                               ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                      2111


8.   Under which chapter of the
                                               Check one:
     Bankruptcy Code is the
     debtor filing?                            ☐ Chapter 7
                                               ☐ Chapter 9
                                               ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                          ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
     debtor” must check the first sub‐box. A                      and its aggregate noncontingent liquidated debts (excluding debts owed to
     debtor as defined in § 1182(1) who                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
     elects to proceed under subchapter V                         attach the most recent balance sheet, statement of operations, cash-flow
     of chapter 11 (whether or not the                            statement, and federal income tax return or if any of these documents do
     debtor is a “small business debtor”)                         not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second sub‐box.                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax
                                                                  return or if any of these documents do not exist, follow the procedure in 11
                                                                  U.S.C. § 1116(1)(B).
                                                                ☐ A plan is being filed with this petition.
                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                  for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                  201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                               ☐ Chapter 12


9.   Were prior bankruptcy cases               ☒ No
     filed by or against the debtor
                                               ☐ Yes        District                       When                             Case number
     within the last 8 years?
                                                                                                         MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                            District                       When                             Case number
                                                                                                         MM / DD/ YYYY




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    Page 2
                         Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 3 of 24
Debtor                                                                                                 Case number (if known)
                Gavilan Resources, LLC
                Name


10. Are any bankruptcy cases             ☐ No
    pending or being filed by a
    business partner or an               ☒ Yes          Debtor       See attached Schedule 1                             Relationship      See attached Schedule 1
    affiliate of the debtor?                            District                                                         When              See attached Schedule 1
                                                                     Southern District of Texas
     List all cases. If more than 1,                                                                                                       MM / DD/ YYYY
     attach a separate list.                            Case number, if known



   11. Why is the case filed in this        Check all that apply:
       district?
                                            ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.
                                            ☐    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                         ☒ No
    possession of any real
    property or personal property        ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                      Why does the property need immediate attention? (Check all that apply.)
                                                    ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                         health or safety.

                                                        What is the hazard?
                                                    ☐    It needs to be physically secured or protected from the weather.
                                                    ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                         without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                         securities-related assets or other options).


                                                    ☐ Other


                                                     Where is the property?
                                                                                     Number                     Street


                                                                                     City                                State               ZIP Code
                                                    Is the property insured?
                                                                                     ☐ No
                                                                                      ☐ Yes. Insurance agency
                                                                                                Contact Name
                                                                                                Phone




                Statistical and administrative information



   13. Debtor’s estimation of           Check one:
       available funds                  ☐    Funds will be available for distribution to unsecured creditors.
                                        ☒    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of              
                                        ☒    1-49                                    ☐      1,000-5,000                          ☐      25,001-50,000
       creditors                        ☐    50-99                                   ☐      5,001-10,000                         ☐      50,001-100,000
         (on a consolidated basis       ☐    100-199                                 ☐      10,001-25,000                        ☐      More than 100,000
         with all affiliated debtors)   ☐    200-999


Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 3
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Debtor                                                                                                 Case number (if known)
                Gavilan Resources, LLC
                Name



   15. Estimated assets                 ☐   $0-$50,000                               ☐     $1,000,001-$10 million                ☐   $500,000,001-$1 billion
         (on a consolidated basis       ☐   $50,001-$100,000                         ☐     $10,000,001-$50 million               ☒   $1,000,000,001-$10 billion
         with all affiliated debtors)   ☐   $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                     ☐     $50,000,001-$100 million
                                        ☐   $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                     ☐     $100,000,001-$500 million

   16. Estimated liabilities            ☐   $0-$50,000                               ☐     $1,000,001-$10 million                ☒   $500,000,001-$1 billion
         (on a consolidated basis       ☐   $50,001-$100,000                         ☐     $10,000,001-$50 million               ☐   $1,000,000,001-$10 billion
         with all affiliated debtors)   ☐   $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                     ☐     $50,000,001-$100 million
                                        ☐   $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                     ☐     $100,000,001-$500 million


                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
     17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of              this petition.
         debtor                                   I have been authorized to file this petition on behalf of the debtor.
                                                  I have examined the information in this petition and have a reasonable belief that the information is
                                                   true and correct.
                                                   I declare under penalty of perjury that the foregoing is true and correct.

                                                       Executed on            05/15/2020
                                                                            MM / DD / YYYY


                                                       /s/ David E. Roberts, Jr.                                   David E. Roberts, Jr.
                                                       Signature of authorized representative of                   Printed name
                                                        debtor
                                                       Chief Executive Officer
                                                       Title




     18. Signature of attorney                     /s/ Alfredo R. Pérez                                          Date          05/15/2020
                                                  Signature of attorney for debtor                                        MM / DD / YYYY
                                           
                                                    Alfredo R. Pérez
                                                    Printed Name
                                           
                                                  Weil, Gotshal & Manges LLP
                                                    Firm Name
                                           
                                                  700 Louisiana, Suite 1700
                                                    Address
                                           
                                                  Houston, TX 77002‐2784
                                                    City/State/Zip
                                           
                                                  (713) 546‐5000
                                                    Contact Phone
                                           
                                                  alfredo.perez@weil.com
                                                    Email Address
                                           
                                                  15776275                             Texas
                                                  Bar Number                           State


Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           Page 4
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                                             Schedule 1

                          Pending Bankruptcy Cases Filed by the Debtors

                On May 15, 2020, each of the affiliated entities listed below (collectively, the
“Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
in the United States Bankruptcy Court for the Southern District of Texas. The Debtors have filed a
motion requesting that the chapter 11 cases of the Debtors be consolidated for procedural purposes
only and jointly administered pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                            Company
                                     Gavilan Resources, LLC
                                 Gavilan Resources HoldCo, LLC
                                 Gavilan Resources Holdings, LLC
                           Gavilan Resources Management Services, LLC
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                                RESOLUTIONS OF
                            THE GOVERNING BODIES OF
                        GAVILAN RESOURCES HOLDINGS, LLC
                         GAVILAN RESOURCES HOLDCO, LLC
                  GAVILAN RESOURCES MANAGEMENT SERVICES, LLC
                            GAVILAN RESOURCES, LLC

                                              May 15, 2020

         The required members of the board of managers, or the sole member, as the case may be (as
applicable, the “Governing Body”), of each of the above referenced companies (each, a “Company,” and
collectively, the “Companies”), do hereby consent to, adopt, and approve, by written consent in
accordance with applicable law, the following resolutions and every action effected thereby:

        WHEREAS, the Governing Body of each Company has reviewed and had the opportunity to ask
questions about the materials presented by the management and the legal and financial advisors of such
Company regarding the liabilities and liquidity of such Company, the strategic alternatives available to it
and the impact of the foregoing on such Company’s businesses; and

         WHEREAS, the Governing Body of each Company has had the opportunity to consult with the
management and the legal and financial advisors of such Company to fully consider each of the strategic
alternatives available to such Company; and

        WHEREAS, each Governing Body believes that commencing a Chapter 11 Case (as defined
below) and taking the actions set forth below are in the best interests of the applicable Company and,
therefore, desires to approve the following resolutions; and

        WHEREAS, in connection with a Chapter 11 Case (as defined below), each Governing Body has
considered providing adequate protection, including paying certain fees, to certain of their prepetition
secured lenders pursuant to a consensual cash collateral order (the “Cash Collateral Order”) on terms and
conditions similar to those previously provided to each Governing Body; and

         WHEREAS, each Governing Body, having considered the terms of the Cash Collateral Order,
and having consulted with and considered advice from the Company’s legal and financial advisors, deems
it advisable and in the best interests of the Company to enter into the transactions contemplated therein.

Commencement of the Chapter 11 Case

        NOW, THEREFORE, BE IT RESOLVED, that each Governing Body of each Company has
determined, after due consultation with the management and the legal and financial advisors of the
applicable Company, that it is desirable and in the best interests of each such Company, its creditors, and
other parties in interest that a petition be filed by each such Company seeking relief under the provisions
of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and be it further

         RESOLVED, that any manager or officer of such Company (each, an “Authorized Officer”), in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to execute
and file in the name and on behalf of such Company, and under its corporate seal or otherwise, all
petitions, schedules, motions, lists, applications, pleadings, and other documents in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), and, in connection
therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors, investment
bankers and other professionals, and to take and perform any and all further acts and deeds which such
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Authorized Officer deems necessary, proper, or desirable in connection with such Company’s chapter 11
case (each, a “Chapter 11 Case” and together, the “Chapter 11 Cases”), including, without limitation,
negotiating, executing, delivering, and performing any and all documents, agreements, certificates, and/or
instruments in connection with the professional retentions set forth in this resolution, with a view to the
successful prosecution of such Chapter 11 Case; and be it further

Retention of Advisors

         RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth Avenue,
New York, New York 10153, is hereby retained as attorneys for the Company in the Chapter 11 Case,
subject to Bankruptcy Court approval; and be it further

        RESOLVED, that the firm of Vinson & Elkins, LLP, located at 2001 Ross Avenue, Suite 3900,
Dallas, Texas 75201, is hereby retained as attorneys for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

         RESOLVED, that the firm of Lazard Frères & Co. LLC, located at 30 Rockefeller Plaza, New
York, New York 10112, is hereby retained as investment banker for the Company in the Chapter 11 Case,
subject to Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of Huron Consulting Services LLC, located at 1166 Avenue of the
Americas, Suite 300, New York, New York 10036, is hereby retained as restructuring advisors for the
Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777 Third Avenue,
12th Floor, New York, New York 10017, is hereby retained as claims and noticing agent for the
Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further
Use of Cash Collateral

         RESOLVED, each Governing Body of each Company authorizes and directs the Authorized
Officers to take such action as such officers deem necessary or appropriate to cause each Company,
respectively, to complete the transactions contemplated by the Cash Collateral Order, and any and all
other agreements, documents, or instruments required or appropriate in connection with or incidental to
the transactions contemplated by each of the foregoing; and be it further

Ratification

        RESOLVED, that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby authorized, empowered, and directed, in the name and on behalf of each
applicable Company, to cause such Company to enter into, execute, deliver, certify, file and/or
record, and perform, such agreements, instruments, motions, affidavits, applications for approvals
or rulings of governmental or regulatory authorities, certificates, or other documents, and to take
such other actions that in the judgment of any Authorized Officer, who may act without the joinder of
any other Authorized Officer, shall be or become necessary, proper, or desirable in connection with these
Resolutions and Chapter 11 Cases; and be it further

        RESOLVED, that any and all past actions heretofore taken by any Authorized Officer in the
name and on behalf of the applicable Company in furtherance of any or all of the preceding resolutions
be, and the same hereby are, ratified, confirmed, and approved in all respects as the acts and deeds of such
Company; and be it further



                                                     2
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       RESOLVED, that a copy of this Resolution executed as aforesaid may be placed in the minute
book of each Company and such copy shall be conclusive evidence that these resolutions have been
adopted.



                                   [Signature Pages Follow]




                                               3
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        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GAVILAN RESOURCES HOLDINGS, LLC, have executed this written consent as
of the date set forth above.


                                       MANAGERS:


                                       _________________________________________
                                       Angelo Acconcia


                                       _________________________________________
                                       Jun (John) Hyung Lee


                                       _________________________________________
                                       David E. Roberts Jr.


                                       _________________________________________
                                       Mark Zhu


                                       _________________________________________
                                       Al Hirshberg


                                       _________________________________________
                                       John Schopp


                                       _________________________________________
                                       Neal Goldman


                                       _________________________________________
                                       DJ (Jan) Baker




                            [Signature Page to Written Consent]
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        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GAVILAN RESOURCES HOLDINGS, LLC, have executed this written consent as
of the date set forth above.


                                       MANAGERS:


                                       _________________________________________
                                       Angelo Acconcia


                                       _________________________________________
                                       Jun (John) Hyung Lee


                                       _________________________________________
                                       David E. Roberts Jr.


                                       _________________________________________
                                       Mark Zhu


                                       _________________________________________
                                       Al Hirshberg


                                       _________________________________________
                                       John Schopp


                                       _________________________________________
                                       Neal Goldman


                                       _________________________________________
                                       DJ (Jan) Baker




                            [Signature Page to Written Consent]
      Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 11 of 24




        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GA VTLAN RESOURCES HOLDINGS, LLC, have executed this written consent as
of the date set forth above.


                                       MANAGERS:



                                       Angelo Acconcia



                                       Jun (John)Hyung Lee



                                       David E. Roberts-Jr.



                                       Mark Zhu



                                       A1       �
                                         ��



                                       John Schopp



                                       Neal Goldman



                                       DJ (Jan) Baker




                            [Signature Page to Written Consent}
      Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 12 of 24




        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GAVILAN RESOURCES HOLDINGS, LLC, have executed this written consent as
of the date set forth above.


                                       MANAGERS:



                                       Angelo Acconcia



                                       Jun (John) Hyung Lee



                                       David E. Roberts Jr.



                                       Mark Zhu




                                       Neal Goldman



                                       DJ (Jan) Baker




                            [Signature Page to Written Consent]
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        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GAVILAN RESOURCES HOLDINGS, LLC, have executed this written consent as
of the date set forth above.


                                       MANAGERS:


                                       _________________________________________
                                       Angelo Acconcia


                                       _________________________________________
                                       Jun (John) Hyung Lee


                                       _________________________________________
                                       David E. Roberts Jr.


                                       _________________________________________
                                       Mark Zhu


                                       _________________________________________
                                       Al Hirshberg


                                       _________________________________________
                                       John Schopp


                                       _________________________________________
                                       Neal Goldman


                                       _________________________________________
                                       DJ (Jan) Baker




                            [Signature Page to Written Consent]
       Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 14 of 24



        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GAVILAN RESOURCES HOLDINGS, LLC, have executed this written consent as
of the date set forth above.


                                       MANAGERS:



                                       Angelo Acconcia



                                       Jun (John) Hyung Lee



                                       David E. Roberts Jr.



                                       Mark Zhu



                                       Al Hirshberg



                                       John Schopp




                                                                         /




                            [Signature Page to Written Consent]
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        IN WITNESS WHEREOF, the undersigned, being all of the managers of the Board of
Managers of GAVILAN RESOURCES HOLDCO, LLC, have executed this written consent as of
the date set forth above.


                                       MANAGERS:




                                       _________________________________________
                                       Angelo Acconcia



                                       _________________________________________
                                       Jun (John) Hyung Lee



                                       _________________________________________
                                       Mark Zhu




                            [Signature Page to Written Consent]
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        IN WITNESS WHEREOF, the undersigned, being the sole member of GAVILAN
RESOURCES MANAGEMENT SERVICES, LLC, has executed this written consent as of the date
set forth above.

                                      SOLE MEMBER:

                                      Gavilan Resources Holdings, LLC




                                      _________________________________________
                                      David E. Roberts, Jr.
                                      Chief Executive Officer




                           [Signature Page to Written Consent]
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     IN WITNESS WHEREOF, the undersigned, being the sole member of GAVILAN
RESOURCES, LLC, has executed this written consent as of the date set forth above.

                                     SOLE MEMBER:

                                     Gavilan Resources HoldCo, LLC




                                     _________________________________________
                                     David E. Roberts, Jr.
                                     Chief Executive Officer




                          [Signature Page to Written Consent]
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       Fill in this information to Identify the case:

    Debtor Name: GAVILAN RESOURCES, LLC
                                                                                                                                          Check if this is an
    United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION
                                                                                                                                          amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                     12/15
  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
  largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                           professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                           services, and         or disputed     setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if       Deduction          Unsecured claim
                                                                                                                 partially secured     for value of
                                                                                                                                       collateral or
                                                                                                                                       setoff

   1       SN EF MAVERICK LLC                   CONTACT: CAMERON W.        TRADE DEBT               C, U, D                                                  $10,026,014.34
           1000 MAIN ST STE 3000                GEORGE, CFO
           HOUSTON, TX 77002                    PHONE: (713) 783-8000
                                                MCAVENAUGH@JW.COM
   2       WGR OPERATING LP                     CONTACT: MICHAEL P. URE,   TRADE DEBT                                                                          $4,932,907.69
           1201 LAKE ROBBINS DR                 CEO
           THE WOODLANDS, TX 77380              PHONE: (832) 636-6000
                                                FAX: (832) 636-0547
                                                MICHAEL_URE@OXY.COM
   3       VENADO EF LP                         CONTACT: SCOTT GARRICK,    TRADE DEBT                                                                             $81,314.92
           13301 GALLERIA CIRCLE 300            CEO
           AUSTIN, TX 78738                     PHONE: (512) 518-2900
                                                FAX: (512)-518-2910
                                                OWNER.RELATIONS@VOGLL
                                                C.COM
   4       MITSUI E&P TEXAS LP                  CONTACT: KAZUHIKO GOMI     TRADE DEBT                                                                             $43,246.14
           1300 POST OAK BLVD                   PHONE: (713) 960-0023
           SUITE 1800                           K.GOMI@MITSUI.COM
           HOUSTON, TX 77056
   5       CORE GEOLOGIC LLC                    CONTACT: DANIEL LOWRIE,    TRADE DEBT                                                                             $34,950.00
           1600 BROADWAY SUITE 1480             VICE PRESIDENT
           DENVER, CO 80202                     PHONE: (832) 776-3768
                                                DLOWEIE@CORELOGIC.COM

   6       DRILLING INFO INC                    CONTACT: ALLEN GILMER      TRADE DEBT                                                                             $15,990.00
           3333 LEE PARKWAY                     INFO@DRILLINGINFO.COM
           DALLAS, TX 75219
   7       ENVIRONMENTAL SYSTEMS                CONTACT: JACK              TRADE DEBT                                                                              $4,871.25
           RESEARCH INSTITUTE INC               DANGERMOND
           380 NEW YORK STREET                  FAX: (909)-793-5953
           REDLANDS, CA 92373


Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          Page 1
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  Debtor: GAVILAN RESOURCES, LLC                                                             Case Number (if known): 20-xxx1
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured claim
                                                                                                           partially secured     for value of
                                                                                                                                 collateral or
                                                                                                                                 setoff

   8    SILVERSAND SERVICES INC            CONTACT: MARK LLOYD       TRADE DEBT                                                                                $104.49
        2827 BARKER CYPRESS RD             PHONE: 713-722-0336
        HOUSTON, TX 77084                  FAX: (713)-722-8160
                                           MLLOYD@SILVERSANDSERVI
                                           CES.COM
   9    NYSE MARKET (DE), INC.             CONTACT: ASHA SHAH,       TRADE DEBT                                                                                 $72.49
        11 WALL ST. FL 6                   DIRECTOR
        NEW YORK, NY 10005-1905            PHONE: 212-656-3000
                                           ASHA.SHAH@THEICE




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         Page 2
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                             §
    In re:                                                   §     Chapter 11
                                                             §
    GAVILAN RESOURCES, LLC,                                  §     Case No. 20-_____ (___)
                                                             §
                                                             §
                     Debtors.1                               §     (Joint Administration Requested)
                                                             §

                      CORPORATE OWNERSHIP STATEMENT PURSUANT TO
                      FEDERAL RULE OF BANKRUPTCY PROCEDURE 7007.1

                     Pursuant to Federal Rule of Bankruptcy Procedure 7007.1, attached hereto as

    Exhibit A, is an organizational chart for Gavilan Resources, LLC and its affiliated debtors as

    proposed debtors and debtors in possession (collectively, the “Debtors”).                             The Debtors

    respectfully represents as follows:

                     1.       Gavilan Resources Holdings, LLC (“Holdings”) is the ultimate parent

    entity of each of the other Debtors.

                     2.       Holdings holds 100% of the Common Units of Gavilan Resources HoldCo,

    LLC. Non-Debtor SN Comanche Manager, LLC holds 100% of the Class A Units of Gavilan

    Resources HoldCo, LLC.

                     3.       Holdings holds 100% of the equity interests of Gavilan Resources

    Management Services, LLC.




1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are: Gavilan Resources, LLC (6688); Gavilan Resources HoldCo, LLC (6425); Gavilan
       Resources Holdings, LLC (4496); and Gavilan Resources Management Services, LLC (3961). The Debtors’
       mailing address is 920 Memorial City Way, Suite 1400, Houston, Texas 77024.
       Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 21 of 24




              4.      Gavilan Resources HoldCo, LLC holds 100% of the equity interests of

Gavilan Resources, LLC.

              5.      Non-Debtor Gavilan Resources Intermediate Aggregator, LLC holds 100%

of Series B Common Interests in Holdings. Certain current employees of the Debtors hold 100%

of the Series A Profit Interests and the Series C Common Interests of Holdings.




                                               2
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                           Exhibit A

                      Organizational Chart
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Organizational Structure
                                                        Gavilan Resources                                 Intrepid Private Equity
                                                        Aggregator, LLC                                        SPV-A, LLC
         Gavilan                                           (Delaware)                                               and
                                                                                                          Intrepid Private Equity    Miramar El Camino
       Management                                                                                                                         Real, LLC
                                  Series A Common Interests (~95%)
                                                                                                                Fund I, LP

                                                         Gavilan Resources                         Series A Common
                                                     Intermediate Aggregator,                       Interests (~5%)
                                                               LLC
                                                            (Delaware)
                                                                     Series B Common Interests

               Series A Profits Interests
              Series C Common Interests                 Gavilan Resources
                                                                                                               SN Comanche
                                                         Holdings, LLC
                                                                                                               Manager, LLC
                                                           (Delaware)

                                                                                          Common
                                                                                                              Class A
                                                                                           Units
                                                                                                               Units

                                    Gavilan Resources                        Gavilan Resources
Gavilan Resources
                                      Management                               HoldCo, LLC
Acquisition, LLC
                                      Services, LLC                             (Delaware)




                                                                            Gavilan Resources,
                                                                                   LLC
                                                                               (Delaware)
                                                                                                                                    Non-Gavilan Entity


                                                                                                                                    Gavilan Debtor
                                                                             Gavilan Resources
                                                                               UnSub, LLC                                           Gavilan Non-Debtor
                                                                                (Delaware)
                        Case 20-32656 Document 1 Filed in TXSB on 05/15/20 Page 24 of 24

 Fill in this information to identify the case and this filing:

 Debtor name: Gavilan Resources, LLC______
 United States Bankruptcy Court for the: Southern District of Texas
                                                                   (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for
the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of
those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy
Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
3571.



              Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
   another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form
            204)
           Other document that requires a declaration                  Corporate Ownership Statement


   I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 05/15/2020
                           MM / DD / YYYY                    /s/ David E. Roberts, Jr.
                                                              Signature of individual signing on behalf of debtor

                                                              David E. Roberts, Jr.
                                                              Printed name

                                                              Chief Executive Officer
                                                              Position or relationship to debtor




 Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
